     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 1 of 11 Page ID #:1



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 7

 8                              UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
10

11    JOHN ROE, JANE ROE AND JOHN              Case No.:
      ROE II,
12
                                               CLASS ACTION COMPLAINT FOR
13                 Plaintiffs,                 DAMAGES AND INJUNCTIVE RELIEF:
        Putative Class
14      Representatives                        FEDERAL RULES OF CIVIL PROCEDURE,
            vs.                                RULES 23, 26,
15

16    RIVIAN AUTOMOTIVE LLC. and               Class Action Fairness Act, 28 USC 1332(d)
      DOES 1 through 10, inclusive,
17                                             DEMAND FOR JURY TRIAL
                      Defendants.
18

19

20

21              We, Plaintiffs, and putative class representatives, JOHN ROE, JANE ROE AND
22    JOHN ROE II, declare, on the basis of personal knowledge and/or information and
23    belief:
24                                            SUMMARY
25              This a a class action against Defendant Rivian Automotive, LLC (herainafter
26    “Rivian”) by the Plaintiffs, Putative Class Representatives (hereinafter “PPCR”) on behalf
27    of the Classes defined below, primarily based on the fact that Defednant Rivian has made
28    fraud-in-the-concealment offers and represetations to the Public, Nationwide,


                                                   -1-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 2 of 11 Page ID #:2



 1    concerning the sale of various electric vehicles. Rivian is a major competitor of Tesla, Inc.
 2    In advertisements and websites created and maintained by Rivian, Rivian is soliciting
 3    from members of the Public $1,000.00 (one thousand dollars) deposits to hold a place in
 4    line for selection and purchase of a type of vehicle of their choosing (see Rivian.com
 5    website). This action is subject to, and controlled by, the Class Action Fairness Act, 28
 6    USC 1332(d) and Federal Rules of Civil Procedure, Rules 23 and 26.
 7

 8                                    PARTIES AND VENUE
 9           1.     Plaintiffs and Putative Class Representatives: The Roe Plaintiffs are those
10    individuals that have made a $1,000.00 deposit to Defendant Rivian to hold a place in
11    line for selection and purchase of the type of vehicle of their choosing.
12           2.     Plaintiffs and Putative Class Representatives Right to Confidentiality
13    Order Issued by the Court: The Roe plaintiffs have serious, legitimate reasons for filing
14    this as a Roe Action and withholding their true identities from the Defendants until the
15    Court can issue a Confidentiality and Protective Order. John Roe and Jane Roe are public
16    figures and, in the past, have been subject to harassment and death threats for political
17    participation in public subjects. John Roe II is fearful of retaliation by Defendants based
18    on his prior contacts with them.
19           3.     Defendants:
20           a.     Defendant Rivian is an American automaker and automotive technology
21    company. Founded in 2009, the company develops vehicles, products and services related
22    to sustainable transportation. The company has facilities in Plymouth, Michigan; Normal,
23    Illinois; San Jose and Irvine, California; Vancouver, Canada; and the United Kingdom.
24    Defendant Rivian is, and at all times herein mentioned was, a limited liability company
25    existing under the laws of the state of Delaware. Defendant Rivian is, and at all times
26    mentioned in this Complaint was, authorized to operate by the State of California and the
27    United States government and authorized and qualified to do business in the County of
28    Orange. Defendant’s place of business, was and is in the County of Orange, at 15770


                                                   -2-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 3 of 11 Page ID #:3



 1    Laguna Canyon Rd., Suite 100, Irvine, Ca 92618. Defendant Rivian’s DUNS number is 11-
 2    711-4168.
 3           4.     Doe Defendants: Defendants Does 1 to 10, inclusive, are sued under
 4    fictitious names pursuant FEDERAL RULES OF CIVIL PROCEDURE, RULES 23, 26, and
 5    the Class Action Fairness Act, 28 USC 1332(d). Plaintiffs are informed and believe, and
 6    on that basis alleges, that each of the Defendants sued under fictitious names is in some
 7    manner responsible for the wrongs and damages alleged below, in so acting was
 8    functioning as the agent, servant, partner, and employee of the Co-Defendants, and in
 9    taking the actions mentioned below was acting within the course and scope of his or her
10    authority as such agent, servant, partner, and employee, with the permission and consent
11    of the Co-Defendants. The named Defendants and Doe Defendants are sometimes
12    hereafter referred to, collectively and/or individually, as “Defendants.” The names and
13    positions of the Doe Defendants are not known to the Plaintiffs at this time. Plaintiffs
14    reserve the right to amended the Complaint to add their names when they become known.
15           5.     Finally, at all relevant times mentioned herein, all Defendants acted as
16    agents of all other Defendants in committing the acts alleged herein.
17

18                     FACTS COMMON TO ALL CAUSES OF ACTION
19           6.     Plaintiffs and Putative Class Representatives: Plaintiffs John Roe and Jane
20    Roe made a $1,000.00 deposit to Rivian to hold a place in line for selection and
21    purchase of the type of vehicle of their choosing (see Rivian.com website).
22           a.     As stated above, Plaintiffs John Roe and Jane Roe made a $1,000.00
23    deposit to Rivian to hold a place in line for selection and purchase of the type of
24    vehicle of their choosing.
25           b.     After sending those funds to Rivian, John Roe and Jane Roe learned that
26    there are many serious defects in the prototype vehicles, including but not limited to
27    “thermal events” (“thermal events” are incidents in which defective components in the
28    vehicles being developed by Defendant Rivian result in fires in the battery system, a


                                                   -3-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 4 of 11 Page ID #:4



 1    major component of each type of vehicle produced by Defendant Rivian, or any electric
 2    vehicle produced by any manufacturer of electric vehicles), along with other defects,
 3    including structural defects relating to these vehicle’s framework, and defects relating to
 4    wiring systems. These events and defects are a public safety hazard. Plaintiff’s Counsel
 5    has found 35 articles on the vehicles Rivian intends to offer to the public, as well as
 6    various private or publicly traded entities, none of which disclose these safety defects.
 7    c.     Had Defendant Rivian disclosed these serious Public Safety defects in their
 8    advertising, including information intended to incentivize deposits from consumers, on
 9    their webpages and other various advertising materials, John Roe and Jane Roe would
10    not have given a $1,000.00 deposit to Rivian to hold their place in line for selection and
11    purchase of any type of vehicle offerred by Defendant Rivian.
12           d.        John Roe and Jane Roe are informed, believe, and on the basis of that
13    knowledge, therefore allege that the other members of the depositing Public Class would
14    not have made $1,000.00 deposits to Rivian to hold a place in line for selection and
15    purchase of any type of vehicle offerred by Defendant Rivian, had they been informed
16    by Rivian of the serious public safety defects and misrepresentations, including battery
17    thermal events, alleged herein.
18           e.        John Roe II has personal knowledge of those Public safety issues, and has
19    made Defendant Rivian, Plaintiffs, and Putative Class Counsel aware of them, prior to
20    filing this action. After such notice, Defendant Rivian chose not to inform the public of
21    those defects.
22           f.        Further, Defendant Rivian has publicly announced plans to undergo an
23    Initial Public Offering (hereinafter “IPO”) of corporate stock to various Public and
24    Investment Firms permitting purchase of its corporate stock. The advertisements and
25    websites concerning the IPO do not inform the possible stock purchasers of any serious
26    Public Safety Defects. Based on publicly available information, the current amount of
27    investments received by Defendant Rivian exceeds $1.3 billion dollars.
28    ///


                                                    -4-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 5 of 11 Page ID #:5



 1           g.     Based on publicly available information, it is estimated that Defendant
 2    Rivian’s IPO will exceed one billion dollars.
 3           7.     Economic damages: Per relevant case law and treatises, as a consequence
 4    of Defendants’ conduct, Plaintiff John Roe and Jane Roe have suffered and will suffer
 5    harm, in a sum to be proven to a jury. The Class economic damages, including deposits,
 6    cost of injunctive relief, and punitive damages will exceed five million dollars
 7    ($5,000,000.00). Plaintiffs do not know if Defendant Rivian carries insurance sufficient
 8    to cover these economic damages.
 9           8.     Non-economic damages: Per relevant case law and treatises, as a
10    consequence of Defendants’ conduct, Plaintiffs John Roe and Jane Roe have suffered and
11    will suffer psychological and emotional distress, humiliation, and mental and physical
12    pain and anguish, in a sum to be proven to a jury. Plaintiffs are informed and believe, and
13    that on that basis allege that other class members have suffered the same non-economic
14    damages.
15           9.     Punitive damages: Per relevant case law and treatises Defendants’ conduct
16    constitutes oppression, fraud, and/or malice and therefore entitles Plaintiffs John Roe
17    and Jane Roe, as well as the Class, to an award of exemplary and/or punitive damages.
18           a.     Malice: Per relevant case law and treatises, Defendants’ conduct was
19    committed with malice that (a) Defendants acted with intent to cause injury to Plaintiff
20    John Roe and Jane Roe, as well as Class members, and/or acted with reckless disregard
21    for Plaintiff John Roe and Jane Roe’s, as well as the Class members, injury, including by
22    defrauding Plaintiffs and Class members and/or (b) Defendants’ conduct was despicable
23    and committed in willful and conscious disregard of Plaintiff’s and Class members rights,
24    health, and safety, including Plaintiff’s and Class members right to be informed of
25    potential physical, financial and/or emotional injury prior to contracting for goods and/or
26    services that carry potential to create such injuries.
27           b.     Oppression: Per relevant case law and treatises, in addition, and/or
28    alternatively, Defendants’ conduct was committed with oppression, including that


                                                   -5-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 6 of 11 Page ID #:6



 1    Defendants’ actions against Plaintiffs and Class Members was “despicable” and subjected
 2    Plaintiffs and Class members to cruel and unjust hardship, in knowing disregard of
 3    Plaintiff’s and Class members rights to be informed of potential physical, financial and/or
 4    emotional injury prior to contracting for goods and/or services that carry potential to
 5    create such injuries. Plaintiffs will request notice of any injuries sustained by any person
 6    as a result of any defect in the Rivian vehicles.
 7           c.     Fraud: Per relevant case law and treatises, in addition, and/or alternatively,
 8    Defendants’ conduct, as alleged, was fraudulent, including that Defendants asserted false
 9    (pretextual) grounds in order to induce Plaintiffs and Class members to contract for goods
10    and/or services which carry potential for physical, financial and/or emotional injury,
11    thereby to cause Plaintiffs John Roe and Jane Roe, as well as Class members hardship
12    and deprive them of legal rights.
13           10.    Attorney’s fees: Plaintiffs John Roe and Jane Roe, John Roe II, as well as
14    Class Members, have incurred and continue to incur legal expenses and attorneys’ fees.
15

16                                   FIRST CAUSE OF ACTION
17                              (Fraud by Concealment—Against
18                      Defendants Rivian and Does 1 to 10, Inclusive)
19           11.    PPCR re-alleges and incorporates by reference all preceding paragraphs,
20    inclusive, as though set forth in full herein.
21           12.    While the sum of $1,000.00 may not be a large financial sum as to the
22    Plaintiffs John Roe and Jane Roe, $1,000.00 from all potential PPCR nationwide, given
23    the events described herein, could potentially create a class of thousands of members, for
24    amounts in damages and remedies that will exceed five million dollars ($5,000,000.00),
25    or as much as one billion dollars ($1,000,000,000.00).
26           13.    This first putative class, defined as All Members of the Public, Nationwide,
27    who saw the advertisements of Defendant Rivian and then made a $1,000.00 deposit to
28    Rivian to hold their place for the purchase of a vehicle, each member of the class will be


                                                       -6-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 7 of 11 Page ID #:7



 1    identified by the records of deposit in the possession of Defendant Rivian.
 2           14.    Rivian has an affirmative and ongoing duty to disclose all defects and safety
 3    issues to potential purchasers before accepting $1,000.00 deposits of members of the
 4    public in order to secure a place in line to purchase a vehicle of their choosing from Rivian.
 5    Rivian failed its duty, and continues to fail its duty to disclose all defects and safety issues
 6    to potential purchasers before accepting $1,000.00 deposits of members of the public to
 7    secure a place in line to purchase a vehicle of their choosing from Rivian by having
 8    accepted, and continuing to accept, $1,000.00 deposits of members of the public to secure
 9    a place in line to purchase a vehicle of their choosing from Rivian while failing to disclose
10    the defects and safety issues from the public and depositors which may have materially
11    affected their decisions to make such deposits.
12           15.    PPCR request the following damages and remedies on behalf of themselves
13    and the putative class members:
14                  a.      At their choosing, a refund of any $1,000.00 deposit to secure a
15    place in line to purchase a vehicle of their choosing from Rivian, plus reasonable interest
16    from the time the deposits were conveyed to Rivian by any class member, up until that
17    time at which Rivian refunds those deposits.
18                  b.      Offering to PPCR by Rivian a vehicle free of all known Defects in
19    order of the time of deposit to the Class members, for a completed purchase by them.
20                  c.      A stay order, issued by the Court, prohibiting Rivian from soliciting
21    any deposits from any purchaser, individual or Corporation, or Institution, nationwide,
22    until the notice of past or current defects is published through regular media outlets, and
23    published on all of Rivian’s websites and advertisements. This also includes not accepting
24    any further deposits.
25                  d.      An appointment by the Court of a Special Master, pursuant to
26    Federal Rules of Civil Procedure Rule 53, with an electric automotive engineering
27    background deemed sufficient to, and who shall monitor, the identification and correction
28    of all defects in Rivian Vehicles, and who shall file a monthly report to the Court, to be


                                                    -7-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 8 of 11 Page ID #:8



 1    made available to Plaintiffs’ Counsel and Defense Counsel, of the status of those efforts
 2    and progress made by Rivian regarding those defects and their corrections.
 3

 4                                 SECOND CAUSE OF ACTION
 5     (Stay of Defendant Rivian’s Initial Public Offering Until All Known Defects
 6          Are Made Publicly Available to Any and All Potential Investors or
 7                    Purchasers of Stock —Against Defendants Rivian
 8                              and Does 1 Through 10, Inclusive)
 9           16.    PPCR re-alleges and incorporates by reference all preceding paragraphs,
10    inclusive, as though set forth in full herein.
11           17.    PPCR are informed, and believe, and on that basis, allege, that Rivian has
12    received over $1.3 billion dollars in pre-IPO filings from such companies as Amazon.com,
13    Inc, Ford Motor Company and Cox Communications.
14           18.    PPCR are informed, and believe, and on that basis, allege, that those
15    investors may convert those investment amounts into stock during the IPO period.
16           19.    PPCR are informed, and believe, and on that basis, allege, that Rivian’s
17    primary competitor is Tesla, Inc. Tesla, Inc.’s current value is approximately $100 Billion
18    dollars. PPCR’s allegation is based on publicly available information.
19           20.    Based on that information, PPCR believes that Defendant Rivian’s IPO
20    should exceed $5 Billion dollars in value.
21           21.    Based on publicly available information, Defendant Rivian has published its
22    intent to conduct its IPO without any disclosure of the serious Public Safety issues and
23    Defects described herein. PPCR John Roe 2, has direct knowledge of these defects, and
24    has brought these issues to the attention of Defendant Rivian. PPCR asks the Court for a
25    Stay on the IPO of Defendant Rivian’s sale of Defendant Rivian’s corporate stock, as well
26    as the solicitation and/or acceptance of any other type of investment from any private or
27    public entity prior to Defendant Rivian’s full disclosure of the defects, and a statement of
28    any and all known defects pertaining to the performance and safety of its vehicles, and


                                                       -8-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 9 of 11 Page ID #:9



 1    how these defects shall be corrected.
 2           22.    Additionally, PPCR asks the Court to issue an order that Rivian disclose
 3    information to the media and on their website of any and all new defects while further
 4    developing its line of vehicles, as well as Rivian’s ongoing efforts to identify and correct
 5    any defects, and all false advertising.
 6           22.    Because this action that is being brought before the Court as a Nationwide
 7    Class Action for Fraud in the Concealment and Public Safety protection from a dangerous
 8    product, in addition to the announced IPO Stock sale by Defendant Rivian to potential
 9    purchasers and investors based on incomplete information, PPCR request an award of
10    attorney fees in an amount to be determined by the Court, but not less than 25% of the
11    total value of the case, including money damages and injunctive relief.
12           23.    Further, PPCR believes this case will show Defendants wrongfully,
13    intentionally, willfully, and with the intent to defraud buyers, depositors, investors and
14    stock purchasers so justifies an award of punitive damages to be divided between PPCR
15    and Class member claimants, as determined by the Jury and/or Court. Plaintiffs’ Attorney
16    and Putative Class Counsel will also make a claim for attorneys fees from such punitive
17    damages.
18

19                                              PRAYER
20           WHEREFORE, Plaintiffs, individually and on behalf of members of the Class,
21    respectfully request that the Court enter judgement in their favor and against Defendants,
22    as follows:
23           1.     Certification of the proposed Class, including appointment of Plaintiffs’
24                  Attorney(s) as Class Counsel;
25           1.     An order temporarily and permanently enjoining Defendants from
26                  continuing the unlawful, deceptive, fraudulent, oppressive and unfair
27                  business practices alleged in this Complaint;
28           2.     Public injunctive releif in the form of an order by the Court that Defendants


                                                    -9-

      PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 10 of 11 Page ID #:10



 1                  refrain from further solicitation or acceptance from the public any and all
 2                  place holding deposits;
 3           3.     Order by the Court that the Defendant Rivian publish, through normal
 4                  media outlets and on their websites, specifc infromation about the history
 5                  of any defects, current or previous, and the status of those defects, to
 6                  include any and all efforts by Defendant Rivian to correct such defects;
 7           4.     An order by the Court that Defendant Rivian permit any and all depostitors
 8                  of any amount of money to secure future purchases of vehicles the
 9                  opportunity to be refunded such deposits;
10           5.     An order by the Court that Defendant Rivian deliver to depositors the
11                  vehicle of their choice, at the regular retail price, free of any defects, when
12                  such vehicles become available;
13           6.     An order by the Court that Defendant Rivian, prior to the issuance of its
14                  proposed Initial Public Offering of Corporate Stock, either directly, or
15                  through an Investment Firm or other Institutional Investment Broker,
16                  publish through normal media outlets, and on Defendant Rivian’s website,
17                  as well as the Investment Firm or other Institutional Investment Broker’s
18                  website, any vehicle defects and/or any and all public safety information
19                  necessary to inform any and all interested persons or entities. Plaintiffs are
20                  informed and believe, and on such basis allege, that such Investment Firms
21                  or other Institutional Investment Brokers include T. Rowe Price;
22           7.     An appointment by the Court of a Special Master, pursuant to Federal Rules
23                  of Civil Procedure Rule 53, with an electric automotive engineering
24                  background deemed sufficient to, and who shall monitor, the identification
25                  and correction of all defects in Rivian Vehicles, and who shall file a monthly
26                  report to the Court, to be made available to Plaintiffs’ Counsel and Defense
27                  Counsel, of the status of those efforts and progress made by Rivian
28                  regarding those defects and their corrections, described herein;


                                                  -10-

       PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND DEMAND FOR JURY TRIAL
     Case 8:20-cv-00998-MWF-ADS Document 1 Filed 05/29/20 Page 11 of 11 Page ID #:11



 1           8.     An award of Plaintiff class representative Attorney Fees as permitted by law,
 2                  and in an amount set by the Court, but not less then 25% of the total value
 3                  of the damges and remedies in this case, including punitive damages.
 4           9.     An award of General Damages in an amount according to the proof as
 5                  permitted by Federal Law;
 6           10.    An award of Special Damages in an amount according to the proof as
 7                  permitted by Federal Law;
 8           11.    An award of Punitives Damages in an amount according to the proof as
 9                  permitted by Federal Law;
10           12.    Costs, restitution, damages, and disgorgement in an amount to be
11                  determined at trial;
12           13.    For such other and further relief as the Court may deem just and proper, in
13                  order to prevent the occurance of such fraudulent activities within these
14                  United States of America, and to protect and secure the safety of its citizens
15                  and/or residents.
16

17
                                  DEMAND FOR JURY TRIAL
18
             Plaintiffs John Roe, Jane Roe and John Roe II demand a jury trial.
19
       DATED: May 26, 2020                 ORANGE COUNTY EMPLOYMENT LAW FIRM PC
20

21

22                                              By:
                                                 Timothy M. Cojocnean, Esq.
23                                               Attorneys for Plaintiff,
24                                               JOHN ROE, JANE ROE AND JOHN ROE II

25

26

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                                                  -11-

       PLAINTIFF JOHN ROE, JANE ROE AND JOHN ROE II’S COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND DEMAND FOR JURY TRIAL
